THE WESBROOKS LAW FIRM, PLLC
MARK WESBROOKS
State Bar No. 018690
15396 N. 83rd Ave., Ste. C-100
Peoria, Arizona 85381
Direct: (602) 262-0390
Fax: (888) 477-5598
FOR THE DEBTORS in each case

                 IN THE UNITED STATES BANKRUPTCY COURT FOR

                   THE DISTRICT OF ARIZONA, PHOENIX DIVISION

In Re:                                          Chapter 13

CATHERINE ANNE WILLIAMSON,                      Case No: 2:15-bk-15653-PS


                                Debtor.



                 IN THE UNITED STATES BANKRUPTCY COURT FOR

                   THE DISTRICT OF ARIZONA, PHOENIX DIVISION

In Re:                                            Chapter 13

ROBERT LANCASTER WILLIAMSON, III,                 Case No: 2:16-bk-00788-EPB



                                  Debtor.



   NOTICE OF HEARING DEBTORS’ MOTION TO CONSOLIDATE CHAPTER 13
                              CASES


         NOTICE IS HEREBY GIVEN that a hearing on the Debtors’ Motion to Consolidate Chapter

13 Cases (“Motion”) will be held on September 13, 2016, at 11:00 A.M., in the Courtroom of the

Honorable Paul Sala, at 230 N. First Ave., 6th Floor, Courtroom 601, Phoenix, Arizona 85003. A


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copy of the Motion and the any responsive pleadings are on filed and available for review with the

Clerk, United States Bankruptcy Court.

       Any responses thereto must be in writing and filed prior to the hearing, with the Clerk, U.S.

Bankruptcy Court, 230 N. First Avenue, Phoenix, Arizona 85003, with a copy served on the United

States Trustee, 230 N. First Avenue, Phoenix, Arizona 85003, and Debtor’s counsel, Mark

Wesbrooks, 15396 N. 83rd Avenue, Ste. C100, Peoria, Arizona 85381 (Fax No. 888-477-5598).

       RESPECTFULLY SUBMITTED, this 1st day of September 2016.

                                             THE WESBROOKS LAW FIRM, PLLC


                                             By: /s/MW019690
                                                Mark Wesbrooks
                                                State Bar No. 018690
                                                Direct: (602) 262-0390
                                                Facsimile: (602) 297-6580
ORIGINAL filed via ECF with
COPY of the foregoing
Via ECF Procedures same date:
Russell Brown
Chapter 13 Trustee
Suite 800
3838 North Central Avenue
Phoenix, Arizona 85012-1965
Edward J. Maney, Trustee
101 North First Avenue
Suite 1775
Phoenix, AZ 85003
Notice was electronically mailed to:
RUSSELL BROWN
ecfmailclient@ch13bk.com
EDWARD J. MANEY
courtecf@maney13trustee.com
DAVID WINTHROP COWLES on behalf of Creditor JPMORGAN CHASE BANK NA
dwc@tblaw.com, gxh@tblaw.com;ecf@tblaw.com
U.S. TRUSTEE
USTPRegion14.PX.ECF@USDOJ.GOV


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                               Main Document    Page 2 of 7
HELEN ELIZABETH WELLER on behalf of Creditor Dallas County
beth.weller@publicans.com
NANCY J MARCH on behalf of Creditor Victoria Gunvalson
nmarch@fclaw.com, sgarcia@fclaw.com
LEONARD J. MCDONALD, JR. on behalf of Creditor JPMORGAN CHASE BANK,
NATIONAL ASSOCIATION
ecf@tblaw.com

COPIES of the foregoing mailed
this 1st day of September, 2016, to all
Creditors and interested parties
as set forth on the Court’s official
BRASS list


By: MW018690




                                    NOTICE OF HEARING - Page 3
Case 2:16-bk-00788-PS          Doc 52 Filed 09/01/16 Entered 09/01/16 13:11:18   Desc
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Label Matrix for local noticing                      SunTrust Mortgage Inc.                               U.S. Bankruptcy Court, Arizona
0970-2                                               1001 Semmes Avenue                                   230 North First Avenue, Suite 101
Case 2:15-bk-15653-PS                                Richmond, VA 23224-2245                              Phoenix, AZ 85003-0608
District of Arizona
Phoenix
Mon Aug 22 11:25:58 MST 2016
AMERICAN EXPRESS                                     ARIZONA DEPARTMENT OF REVENUE                        (p)BANK OF AMERICA
P.O. BOX 297879                                      BANKRUPTCY DIVISION FIELD 1011                       PO BOX 982238
Fort Lauderdale FL 33329-7879                        1600 W MONROE 7TH FLOOR                              EL PASO TX 79998-2238
                                                     Phoenix AZ 85007-2612


Cbna/SEARS                                           Chase Card                                           Department Store National Bank
Po Box 6283                                          Po Box 15298                                         c/o Quantum3 Group LLC
Sioux Falls SD 57117-6283                            Wilmington DE 19850-5298                             PO Box 657
                                                                                                          Kirkland, WA 98083-0657


(p)US BANK                                           IRS                                                  JPMorgan Chase Bank, N.A.
PO BOX 5229                                          P O BOX 7346                                         David W. Cowles
CINCINNATI OH 45201-5229                             Philadelphia PA 19101-7346                           2525 E. Camelback Rd, Ste 700
                                                                                                          Phoenix, AZ 85016-4229


Jpm Chase                                            Mcydsnb                                              Midland Funding, LLC
Po Box 24696                                         9111 Duke Blvd                                       PO Box 2011
Columbus OH 43224-0696                               Mason OH 45040-8999                                  Warren MI 48090-2011



(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Rui Credit Services In                               SunTrust Mortgage, Inc.
PO BOX 41067                                         1305 Walt Whitman Rd Ste                             Bankruptcy Department RVW 3034
NORFOLK VA 23541-1067                                Melville NY 11747-4849                               PO Box 27767 Richmond, VA 23261



Suntrust Mortgage/Cc 5                               Syncb/Care Credit                                    U.S. TRUSTEE
1001 Semmes Ave                                      950 Forrer Blvd                                      OFFICE OF THE U.S. TRUSTEE
Richmond VA 23224-2245                               Kettering OH 45420-1469                              230 NORTH FIRST AVENUE
                                                                                                          SUITE 204
                                                                                                          PHOENIX, AZ 85003-1725

ZWICKER & ASSOCIATES, P.C.                           CATHERINE ANNE WILLIAMSON                            MARK WESBROOKS
1225 W. WASHINGTON STREET, STE. 110                  2272 S. MCCLELLAND PL.                               THE WESBROOKS LAW FIRM, PLLC
Tempe AZ 85281-1237                                  CHANDLER, AZ 85286-7632                              15396 N. 83RD AVE.
                                                                                                          STE C-100
                                                                                                          PEORIA, AZ 85381-5627

RUSSELL BROWN
CHAPTER 13 TRUSTEE
SUITE 800
3838 NORTH CENTRAL AVENUE
PHOENIX, AZ 85012-1965



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                Case 2:16-bk-00788-PS               Doc 52 Filed 09/01/16 Entered 09/01/16 13:11:18                              Desc
                                                     Main Document    Page 4 of 7
Bk Of Amer                                             Elan Financial Service                               Portfolio Recovery Associates, LLC
Po Box 982238                                          777 E Wisconsin Ave                                  POB 12914
El Paso TX 79998                                       Milwaukee WI 53202                                   Norfolk VA 23541




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)JPMORGAN CHASE BANK NA                              End of Label Matrix
                                                       Mailable recipients      24
                                                       Bypassed recipients       1
                                                       Total                    25




                   Case 2:16-bk-00788-PS              Doc 52 Filed 09/01/16 Entered 09/01/16 13:11:18                           Desc
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Label Matrix for local noticing         Dallas County                             U.S. Bankruptcy Court, Arizona
0970-2                                  c/o Elizabeth Weller                      230 North First Avenue, Suite 101
Case 2:16-bk-00788-EPB                  2777 N Stemmons Frwy                      Phoenix, AZ 85003-0608
District of Arizona                     #1000
Phoenix                                 dallas, tx 75207-2328
Mon Aug 22 11:24:39 MST 2016
ADT                                     AMERICAN EXPRESS CENTURION BANK           ANITA RENNER
PO BOX 650485                           C/O BECKET AND LEE LLP                    12224 E. BIRCHWOOD PLACE
Dallas TX 75265-0485                    PO BOX 3001                               Chandler AZ 85249-5134
                                        MALVERN, PA 19355-0701


ARDEN PARK HOA                          ARIZONA DEPARTMENT OF REVENUE             Allied Collection Serv
PO BOX 60668                            BANKRUPTCY DIVISION FIELD 1011            3080 S Durango Dr Ste 20
Phoenix AZ 85082-0668                   1600 W MONROE 7TH FLOOR                   Las Vegas NV 89117-9193
                                        Phoenix AZ 85007-2612


Amex                                    BAILUS COOK & KELESIS, LTD                (p)BANK OF AMERICA
Po Box 297871                           517 SOUTH 9TH STREET                      PO BOX 982238
Fort Lauderdale FL 33329-7871           Las Vegas NV 89101-7010                   EL PASO TX 79998-2238



CBNA/SEARS                              California Business Bu                    California Business Bureau
PO BOX 6283                             4542 Ruffner St Ste 160                   1711 S Mountain Ave
Sioux Falls SD 57117-6283               San Diego CA 92111-2238                   Monrovia CA 91016-4256



Chase                                   Chase Card                                DALLAS COUNTY TAX ASSESSOR
P.O. Box 15298                          Po Box 15298                              PO BOX 139066
Wilmington DE 19850-5298                Wilmington DE 19850-5298                  Dallas TX 75313-9066



DESCIACCA GLASSWARE 1 SOURCE            Dallas County                             (p)US BANK
81 W. BOSTON                            Linebarger, Goggan Blair & Sampson, LLP   PO BOX 5229
Chandler AZ 85225-7801                  c/o Elizabeth Weller                      CINCINNATI OH 45201-5229
                                        2777 N. Stemmons Frwy Suite 1000
                                        Dallas, TX 75207-2328

HOSPITAL H SAN JOSE DEL CABO            IRS                                       JPMorgan Chase Bank, N.A.
CARRETERA TRANSPENISULAR KM 24.5,       P O BOX 7346                              Leonard McDonald
FRACCION C-1, COL. CERRO COLORADO,      Philadelphia PA 19101-7346                Seventh Floor Camelback Esplanade II
SAN JOSE DEL CABO, B.C.S., CP 23406                                               2525 E. Camelback Rd,
                                                                                  Phoenix, AZ 85016-4219

Jpm Chase                               LAW OFFICE OF HAYES & WELSH               LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
Po Box 24696                            199 N. ARROYO GRANDE BLVD. SUITE 200      2777 N. STEMMONS FREEWAY, STE. 1000
Columbus OH 43224-0696                  Henderson NV 89074-1609                   Dallas TX 75207-2328



MCYDSND                                 NET REP MARKETING                         Neighborhood Credit Un
9111 DUKE BLVD                          840 S. RANCHO DRIVE                       Po Box 224444
Mason OH 45040-8999                     SUITE 4316                                Dallas TX 75222-4444
                                        Las Vegas NV 89106-3837
                Case 2:16-bk-00788-PS   Doc 52 Filed 09/01/16 Entered 09/01/16 13:11:18               Desc
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RUI CREDIT SERVICES INC                                STAN JOHNSON-COHEN/JOHNSON, LLC                      Suntrust Mortgage/Cc 5
1305 WALT WHITMAN ROAD                                 255 E. WARM SPRINGS ROAD                             1001 Semmes Ave
Melville NY 11747-4849                                 Las Vegas NV 89119-4275                              Richmond VA 23224-2245



Syncb/Care Credit                                      TATE & KIRLIN ASSOCIATES                             U.S. TRUSTEE
950 Forrer Blvd                                        2810 SOUTHAMPTON ROAD                                OFFICE OF THE U.S. TRUSTEE
Kettering OH 45420-1469                                Philadelphia PA 19154-1207                           230 NORTH FIRST AVENUE
                                                                                                            SUITE 204
                                                                                                            PHOENIX, AZ 85003-1725

VICTORIA GUNVALSON                                     Victoria Gunvalson                                   ZWICKER & ASSOCIATES, P.C.
c/o LAW OFFICE OF HAYES & WELSH                        c/o Nancy J. March                                   1225 W. WASHINGTON STREET, STE. 110
199 N. ARROYO GRANDE BLVD. SUITE 200                   Fennemore Craig, P.C.                                Tempe AZ 85281-1237
Henderson NV 89074-1609                                One S. Church Ave., Ste. 1000
                                                       Tucson, AZ 85701-1627

EDWARD J. MANEY                                        MARK WESBROOKS                                       ROBERT LANCASTER WILLIAMSON III
101 N. FIRST AVE., SUITE 1775                          THE WESBROOKS LAW FIRM, PLLC                         2272 S. MCCLELLAND PLACE
PHOENIX, AZ 85003-1927                                 15396 N. 83RD AVE.                                   CHANDLER, AZ 85286-7632
                                                       STE C-100
                                                       PEORIA, AZ 85381-5627

Victoria Gunvalson
c/o Fennemore Craig, P.C.
Nancy J. March
One S.Church Avenue
Suite 1000
Tucson, AZ 85701-1627


                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BANK OF AMERICA                                        ELAN FINANCIAL SERVICES
PO BOX 982238                                          777 E. WISCONSIN AVENUE
El Paso TX 79998                                       Milwaukee WI 53202




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)JPMORGAN CHASE BANK, NATIONAL ASSOCIATION           (u)MED CARE AIR LOS CABOS                            (u)MEDICA LOS CABOS
                                                       ZARAGOZA S-N, COL. 5 de FEBRERO                      ZARAGOZA S-N, COL. 5 de FEBRERO
                                                       SAN JOSE DEL CABO, BAJA CALIFORNIA SUR               SAN JOSE DEL CABO, BAJA CALIFORNIA SUR



End of Label Matrix
Mailable recipients      42
Bypassed recipients       3
Total                    45
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